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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

   SEMCON IP INC.,                                  §
                                                    §
                                                    §     Case No. 2:16-cv-437-JRG-RSP
                                 Plaintiff,
                                                    §     (LEAD CASE)
                                                    §
                    v.                              §
                                                    §     JURY TRIAL DEMANDED
                                                    §
   HUAWEI DEVICE USA INC., ET AL.,                  §
                                                    §
                                 Defendants.        §



                                    DOCKET CONTROL ORDER

          Pursuant to the Court’s Order (Dkt. 514) lifting the stay previously entered in this case

   (Dkt. 352) and authorizing the parties to file a proposed docket control order to make any

   necessary changes to the schedule before trial, Plaintiff Semcon IP Inc. (“Semcon”) and

   Defendant STMicroelectronics, Inc.’s (“STI”) respectfully submit this proposed Docket Control

   Order subject to STIs pending motions to continue / reset the trial (Dkt. 521) and leave to file the

   supplemental motion for summary judgment (Dkt. 518).


    Current Deadline       New Deadline                 Event


    April 2, 2018          Unchanged                    *Jury Selection - 9:00 a.m. in Marshall, Texas
                                                        before Judge Rodney Gilstrap

    March 22, 2018         Unchanged                    *Pretrial Conference - 9:00 a.m. in Marshall,
                                                        Texas before Judge Roy Payne
                                                        *Notify Court of Agreements Reached During
                                                        Meet and Confer
    March 14, 2018         March 20, 2018
                                                        The parties are ordered to meet and confer on any
                                                        outstanding objections or motions in limine.
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    Current Deadline    New Deadline               Event

                                                   *File Joint Pretrial Order, Joint Proposed Jury
    March 12, 2018       March 19, 2018            Instructions, Joint Proposed Verdict Form,
                                                   Responses to Motions in Limine, Updated Exhibit
                                                   Lists,
                                                   Serve Updated   Witness
                                                          Sur-Replies       Lists, and Motions
                                                                       in Outstanding  Updated (Dkt.
                         March 16, 2018            Deposition  Designations
                                                   299, 300, 301, 304, 518, 519)
                                                   *File Notice of Request for Daily Transcript or
                                                   Real Time Reporting.
                                                   If a daily transcript or real time reporting of court
    March 5, 2018        March 12, 2018            proceedings is requested for trial, the party or
                                                   parties making said request shall file a notice with
                                                   the Court and e-mail the Court Reporter, Shelly
                                                   Holmes, at shelly_holmes@txed.uscourts.gov.
                                                   Serve Replies in Outstanding Motions (Dkt. 299,
                         March 9, 2018
                                                   300, 301, 304, 518, 519)
                                                   File Motions in Limine
                                                   The parties shall limit their motions in limine to
                                                   issues that if improperly introduced at trial would
    February 26, 2018    March 8, 2018
                                                   be so prejudicial that the Court could not alleviate
                                                   the prejudice by giving appropriate instructions to
      .                                            the jury.

    February 26, 2018    March 13, 2018            Serve Objections to Rebuttal Pretrial Disclosures

                                                   Serve Responses to Outstanding Motions (Dkt. 299,
                         March 2, 2018
                                                   300, 301, 304, 518, 519)

                                                   Serve Objections to Pretrial Disclosures; and Serve
    February 19, 2018    March 6, 2018
                                                   Rebuttal Pretrial Disclosures
                                                   Serve Pretrial Disclosures (Witness List,
    February 5, 2018     February 27, 2018         Deposition Designations, and Exhibit List) by the
                                                   Party with the Burden of Proof
                      Subject to STI’s motion
                                                 Deadline for Parties to file supplemental Motions
                      for leave to file MSJ (Dkt
                                                 for Summary Judgment
                      518)
              SIGNED this 3rd day of January, 2012.
             SIGNED this 25th day of February, 2018.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE
                                               2
